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               In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                          Filed: July 29, 2019

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JAMIE MILLER,              *                                    UNPUBLISHED
                           *
                           *                                    No. 17-993V
               Petitioner, *
v.                         *                                    Special Master Gowen
                           *
SECRETARY OF HEALTH        *                                    Influenza (“flu”); Shoulder Injury Related
AND HUMAN SERVICES,        *                                    to Vaccine Administration (“SIRVA”);
                           *                                    Chronic Regional Pain Syndrome (“CRPS”);
                           *                                    Stipulation for Award.
               Respondent. *
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Leah V. Durant, Law Offices of Leah V. Durant, PLLC, Washington, D.C., for petitioner.
Althea W. Davis, Department of Justice, Washington, D.C., for respondent.

                                     DECISION FOR STIPULATION1

        On July 24, 2017, Jamie Miller (“petitioner”) filed a petitioner for compensation under
the National Vaccine Injury Compensation Program.2 Petition at Preamble. Petitioner received
an influenza (“flu”) vaccine on October 6, 2016. Id.; Stipulation at ¶ 2. Petitioner alleged that as
a result of receiving the flu vaccination, she suffered a Shoulder Injury Related to Vaccine
Administration (“SIRVA”) and chronic regional pain syndrome (“CRPS”). Id.; Stipulation at ¶
4.

       On July 29, 2019, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation at ¶ 7. Respondent denies that

1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the opinion is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed redacted version of the
decision.” Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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petitioner’s alleged injuries are caused by the flu vaccine. Id. at ¶ 6. Maintaining their
respective positions, the parties nevertheless now agree that the issues between them shall be
settled and that a decision should be entered awarding compensation to petitioner according to
the terms of the stipulation attached hereto as Appendix A. Id. at ¶ 7.

        The stipulation awards:

        1) A lump sum payment of $17,785.90 representing compensation for satisfaction of
           the State of Maryland Medicaid lien, in the form of a check payable jointly to
           petitioner and

                 Optum
                 75 Remittance Drive
                 Suite 6019
                 Chicago, IL 60675-6019
                 Tax ID # XX-XXXXXXX
                 Case ID: 34253356

        Petitioner agrees to endorse this payment to Optum and;

        2) A lump sum of $70,000.00 in the form of a check payable to petitioner. This
           amount represents compensation for all remaining damages that would be
           available under 42 U.S.C. §300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The Clerk of the Court SHALL ENTER JUDMENT in
accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.


                                                                                s/Thomas L. Gowen
                                                                                Thomas L. Gowen
                                                                                Special Master




3
 Entry of judgment is expediated by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).
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